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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION

  UNITED STATES OF AMERICA                        )
                                                  )        Criminal No. 7:18-cr-48
  v.                                              )
                                                  )
  SEAN DENZEL GUERRANT,                           )        By:   Michael F. Urbanski
  et al.,                                         )
          Defendants.                             )        Chief United States District Judge

                                  MEMORANDUM OPINION

         This matter is before the court on defendant Sean Denzel Guerrant’s motion to sever

  trial from codefendant Demonte Rashod Mack, ECF No. 300. Guerrant argues that

  introducing evidence of codefendant Trayvone Raycron Kasey’s robbery and murder of M.G.

  would be unduly prejudicial to Guerrant because he did not have personal involvement in

  M.G.’s murder. Id. The government opposes, arguing that Guerrant continued to run the

  Rollin’ 30s gang from jail before and after M.G.’s murder, and although he did not have

  personal involvement, M.G.’s murder was in furtherance of gang activity. ECF No. 308. For

  the reasons stated on the record at the May 19, 2021 hearing and below, defendant Guerrant’s

  motion to sever is DENIED.

                                                      I.

         Defendant Sean Denzel Guerrant was the leader of the Rollin’ 30s Crips street gang in

  Roanoke, Virginia. 1 Guerrant’s codefendants, Demonte Rashod Mack, Trayvone Raycron




  1 The facts recited in this Memorandum Opinion are those alleged by the government as reflected in the
  pleadings, briefing, and statement of facts associated with codefendant plea agreements.
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  Kasey, and Chauncey Dion Levesy, are also members of the Rollin’ 30s. 2 Trayvone Kasey

  Statement of Facts, ECF No. 235, at 1. Guerrant would often recruit younger males into the

  gang, two of whom were D.F. and N.L. Id. at 2. Both D.F. and N.L. had a falling out with the

  Rollin’ 30s, and on June 14, 2017, Guerrant ordered N.L. to kill D.F. Separately, Guerrant

  ordered Mack and Kasey to kill N.L. if he failed to kill D.F. Id.

         On June 15, 2017, Kasey drove with N.L. and D.F. to a party, while Mack and Levesy

  followed behind. The cars parked at a Roanoke apartment complex, and, after having been

  inconspicuously warned by N.L., D.F. immediately got out and ran. Gov’t Br. in Opp’n to

  Mot. to Sever, ECF No. 308, at 4. Kasey and Mack then struggled with N.L. to retrieve the

  firearm he was holding. Kasey gained control of the firearm, and both Kasey and Mack shot

  at N.L. as he fled. N.L. hid but was discovered by Mack. As Kasey watched, Mack shot N.L.

  Kasey Statement of Facts at 2-3. Mack and Kasey then left N.L. on the ground, and N.L. died

  from his wounds. Kasey and Mack drove back to the so-called trap house where the other

  Rollin’ 30s members were located and told Guerrant about what just transpired. Id. at 3.

  Guerrant instructed another gang member to take Mack and Kasey’s firearms and bury them.

  Id.

         On June 25, 2017, Guerrant was arrested on unrelated state charges. Throughout his

  incarceration, Guerrant continued participating in gang activities. On June 27, 2017, Guerrant

  made several jail calls, instructing two Rollin’ 30s members, A.P. and T.S., to run the gang in

  his absence. Gov’t Br. in Opp’n to Mot. to Sever at 5. Kasey began to question the toughness



  2Defendants Kasey and Levesy have both entered into plea agreements. The remaining defendants are
  Guerrant and Mack.
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  of the Rollin’ 30s under A.P.’s direction. Id. Around this time, Mack became worried about

  Kasey’s loyalty because Kasey could tie Mack to N.L.’s murder. Id. at 6. As such, Mack

  considered killing Kasey. Id.

         As acting head of the Rollin’ 30s, A.P. received updates on gang members’ activities.

  On February 8, 2018, Kasey notified A.P. that he ran out of marijuana and planned to obtain

  some the next day. Kasey then agreed to purchase some from M.G. on February 9, 2018. Id.

  Kasey reached out to M.G. on Facebook to facilitate this drug purchase. Kasey Statement of

  Facts at 3. The two agreed that Kasey would purchase one ounce of marijuana from M.G. for

  $190. Id. Although Kasey agreed to the $190 purchase, he lacked sufficient funds to do so and

  did not intend on obtaining them. Id. at 3-4; Gov’t Br. in Opp’n to Mot. to Sever at 6. Prior

  to meeting up with M.G., Kasey spoke with Mack and Levesy about robbing M.G. of his

  marijuana if the situation looked favorable. Id.

         Later that day, Mack and Levesy walked with Kasey to meet up with M.G. to purchase

  the marijuana. However, Mack and Levesy stayed out of sight while Kasey approached M.G.’s

  car. Kasey Statement of Facts at 4. A struggle ensued, concluding with Kasey shooting M.G.

  and stealing M.G.’s marijuana. Mack watched Kasey shoot M.G. and congratulated him on the

  murder, saying, “I taught you well.” Gov’t Br. in Opp’n to Mot. to Sever at 6-7. Mack, Levesy,

  and Kasey then fled the scene. After retreating, Mack, Levesy, and Kasey shared in the profits

  of M.G.’s stolen marijuana, and the three discussed how to get rid of Kasey’s gun used to

  commit the crime. Id. at 6. M.G.’s murder increased Kasey’s standing in the Rollin’ 30s and

  cemented his loyalty to the gang. Id.




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         Following M.G.’s murder, Guerrant continued providing instruction for the Rollin’

  30s. On May 24, 2018, Guerrant engaged in a jail call soliciting witness tampering concerning

  a member of the Rollin’ 30s who he thought was snitching. Id. at 7. On July 30, 2018, Guerrant

  had another jail call where he discussed his recruitment of a young member for the Rollin’ 30s

  who was currently incarcerated. Id. at 7-8. After Guerrant was indicted on federal charges on

  November 19, 2018, Guerrant again discussed witness tampering, stating that he would have

  D.F. beaten up. Id. at 8.

                                                II.

         Multiple defendants may be “charged in the same indictment if they are alleged to have

  ‘participated in the same act or transaction, or in the same series of acts or transactions,

  constituting an offense or offenses.’” United States v. Cooper, 624 F. App’x 819, 822 (4th Cir.

  2015) (quoting Fed. R. Crim. P. 8(b)). Moreover, joint trials of defendants who are indicted

  together is preferred in the federal system because it promotes judicial efficiency. Id.; United

  States v. Zafiro, 506 U.S. 534, 537 (1993). The presumption of a single trial for defendants

  indicted together is “especially strong” in conspiracy cases. United States v. Chorman, 910

  F.2d 102, 114 (4th Cir. 1990); see also United States v. Dinkins, 691 F.3d 358, 368 (4th Cir.

  2012); United States v. Tedder, 801 F.2d 1437, 1450 (4th Cir. 1986).

         However, Rule 14 of the Federal Rules of Criminal Procedure allows a district court to

  grant severance if “the joinder of offenses or defendants in an indictment . . . appears to

  prejudice a defendant or the government.” Fed. R. Crim. P. 14. Severance is rarely granted

  when defendants are properly joined. United States v. Hornsby, 666 F.3d 296, 309 (4th Cir.

  2012). Severance is warranted only when “‘there is a serious risk that a joint trial would


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  compromise a specific trial right of one of the defendants, or prevent the jury from making a

  reliable judgment about guilt or innocence.’” United States v. Najjar, 300 F.3d 466, 473 (4th

  Cir. 2002) (quoting Zafiro, 506 U.S. at 539). The defendant bears the burden of showing that

  “actual prejudice would result from a joint trial, . . . and not merely that a separate trial would

  offer a better chance of acquittal.’” Id. (quoting United States v. Reavis, 48 F.3d 763, 767 (4th

  Cir. 1995)). Specifically, “[t]here must be such a stark contrast presented by the defenses that

  the jury is presented with the proposition that to believe the core of one defense it must

  disbelieve the core of the other . . . or ‘that the jury will unjustifiably infer that this conflict

  alone demonstrates that both are guilty.’” Id. at 474 (citations omitted).

                                                 III.

         Guerrant contends that because he was in the custody of the Roanoke City Jail on the

  day of M.G.’s murder, he could not have had any personal involvement with said crime. As

  such, Guerrant asserts that any evidentiary introduction of M.G.’s murder would compromise

  his Fifth Amendment right to be presumed innocent and would prevent the jury from making

  a reliable judgment as to his guilt or innocence. ECF No. 300 at 3-4. Moreover, Guerrant

  argues that evidence of M.G.’s murder would task Guerrant with defending himself against

  the murders of both N.L. and M.G. He contends that the jury will conflate M.G.’s murder

  with N.L.’s murder as it relates to Guerrant’s involvement, and Guerrant further asserts that

  no limiting instruction will rectify this harm. As such, Guerrant argues that evidence of M.G.’s

  murder will be unduly prejudicial, necessitating severance. See, e.g., United States v. Oloyede,

  933 F.3d 302, 311-12 (4th Cir. 2019); United States v. Qazah, 810 F.3d 879, 891 (4th Cir.




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  2015); United States v. Hackley, 662 F.3d 671, 684 (4th Cir. 2011); United States v. Harris, 498

  F.3d 278, 291-92 (4th Cir. 2007); Najjar, 300 F.3d at 473.

         Specifically, Guerrant argues that the government’s evidence of his involvement with

  M.G.’s murder is strained. Guerrant was incarcerated on June 25, 2017, and made three phone

  calls to unindicted Rollin’ 30s members from jail shortly after his arrest. Guerrant argues that

  the temporal distance between the June 2017 phone calls and February 2018 M.G. murder is

  insufficient to associate Guerrant with M.G.’s murder. The government intends to introduce

  jail phone calls both before and after M.G.’s murder to prove that Guerrant continued

  engaging in gang affairs after he was incarcerated.

         Lastly, Guerrant argues that the court can grant severance by using a hybrid Federal

  Rules of Evidence 404(b) and 403 test, articulated in United States v. Queen, 132 F.3d 991

  (4th Cir. 1997). In Queen, a defendant was charged with conspiracy to witness tamper and

  witness tampering from 1994 to 1995, attempting to prevent a witness from testifying in a

  drug trafficking trial. The defendant filed a motion in limine to exclude evidence that Queen

  had previously tampered with a witness in 1986. The Fourth Circuit stated a four-pronged test

  for admissibility of the evidence under Rules 404(b) and 403:

         1.     [T]he evidence must be relevant to an issue, such as an element of an offense,
                and must not be offered to establish the general character of the defendant. In
                this regard, the more similar the prior act is (in terms of physical similarity or
                mental state) to the act being proved, the more relevant it becomes;
         2.     [T]he act must be necessary in the sense that it is probative of an essential claim
                or an element of the offense;
         3.     [T]he evidence must be reliable; and
         4.     [T]he evidence’s probative value must not be substantially outweighed by
                confusion or unfair prejudice in the sense that it tends to subordinate reason to
                emotion in the factfinding process.


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  Queen, 132 F.3d at 997. Finding that Queen’s 1986 witness tampering was relevant and

  probative to prove a substantive element of the 1994 and 1995 tampering, the Fourth Circuit

  affirmed the district court’s admission of the prior bad act, holding that the evidence was

  “worth consideration” by a jury. Id. at 998. Specifically, Guerrant argues that the fourth prong

  is instructive.

          The government opposes severance, arguing that as the leader of the Rollin’ 30s,

  introduction of gang activities is not unfairly prejudicial to Guerrant even if Guerrant was not

  personally involved in M.G.’s murder. Guerrant recruited and directed gang members to

  engage in violent activities. ECF No. 308 at 9-10. Moreover, the government contends that

  M.G.’s murder is inextricably linked to N.L.’s murder, which Guerrant ordered. The

  government proffers that it can show Guerrant remained active in the Rollin’ 30s after his

  arrest and following M.G.’s murder. The government alleges that Guerrant encouraged

  obstruction and witness intimidation, recruited new Rollin’ 30s members while incarcerated,

  and continued to provide direction to the gang’s acting leader, A.P. ECF No. 308 at 10.

  Therefore, it is not unfairly prejudicial to introduce evidence of M.G.’s murder at the hands

  of the Rollin’ 30s even though Guerrant himself was incarcerated at the time.

          The government argues that this case resembles United States v. Dinkins, 691 F.3d 358

  (4th Cir. 2012). In Dinkins, three defendants were tried together on charges relating to

  murdering government witnesses, murdering a coconspirator, and various narcotics and

  weapons offenses stemming from the defendants’ involvement in a drug-trafficking

  conspiracy. The defendants moved to have separate trials; however, the district court denied

  severance. Defendants appealed, arguing that they suffered prejudice from the joint trial


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  because “(1) the jury was presented with evidence of multiple murders, akin to a ‘blizzard of

  violence,’ even though each murder was not attributable to every defendant; (2) [one]

  defendant . . . who was not subject to receiving the death penalty should not have had his case

  joined for trial with [the other] defendants who were facing the possible imposition of th[e

  death] penalty; and (3) [one] defendant presented a defense that was mutually antagonistic to

  the defenses presented by [the others].” Dinkins, 691 F.3d at 367. The Fourth Circuit affirmed,

  holding that (1) while each defendant was not charged with the same murder, every defendant

  was charged with a murder in furtherance of their drug conspiracy, resulting in no prejudice

  from trying them together; (2) under Buchanan v. Kentucky, 483 U.S. 402, 415-20 (1987),

  simply because one defendant was not eligible for the death penalty does not unduly prejudice

  him in a joint trial with death-penalty eligible codefendants; and (3) antagonistic defenses or

  hostility amongst defendants is insufficient to meet the burden required to grant severance.

  Dinkins, 691 F.3d at 368-69.

         Furthermore, the government contends that under a Rule 403 analysis, courts have

  permitted evidence of murder in conspiracy cases even when none of the defendants were

  personally involved. See United States v. Ramirez-Rivera, 800 F.3d 1, 44 (1st Cir. 2015),

  abrogated on other grounds by United States v. Leonar-Aguirre, 939 F.3d 310 (1st Cir. 2019)

  (“And we have previously held that when the scope of a RICO conspiracy includes murder as

  a tool to further the enterprise, a murder is still relevant to the RICO counts as it tended to

  prove the existence and nature of the RICO enterprise and conspiracy, even when all the

  indicted defendants are not charged for the particular killing.”).




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         Lastly, the government asserts that even if Guerrant were to suffer any prejudice from

  a joint trial, the prejudice could be mitigated by limiting instructions. See Dinkins, 691 F.3d at

  368 (stating that severance is a drastic remedy and any prejudice that may occur from a joint

  trial can be remedied with limiting instructions); Najjar, 300 F.3d at 475 (holding that any

  prejudice defendants may have suffered was cured by proper limiting instructions); United

  States v. Hayden, 85 F.3d 153, 160 (4th Cir. 1996) (“Often, less drastic measures, such as

  limiting instructions, act to cure any risk of prejudice.”); see also United States v. Lazo, 816 F.

  App’x 752, 759-60 (4th Cir. 2020) (affirming the district court where it did not sever

  defendants’ trial and gave limiting instructions that focused the jury on each defendant’s

  individual culpability); United States v. Mouzone, 687 F.3d 207, 219 (4th Cir. 2012) (finding

  the same).

         The court agrees that severance is not warranted in this case. At argument, Guerrant

  conceded that case law disfavors severance of properly joined codefendants. See, e.g.,

  Oloyede, 933 F.3d at 311-12 (affirming denial of severance because defendants did not meet

  their threshold of showing joint trial disparity would amount to undue prejudice); Qazah, 810

  F.3d at 891 (holding that defendant “comes nowhere close to satisfying th[e] standard” of

  granting severance); Hackley, 662 F.3d at 684 (denying severance where defendant did not

  show clear prejudice or abuse of district court discretion in granting joint trial); Harris, 498

  F.3d at 291-92 (finding that the district court did not err in denying severance when it gave

  proper limiting instructions to jury); Najjar, 300 F.3d at 473 (affirming district court’s denial

  of severance because defendant’s concerns about prejudice were merely speculative).




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           Although Queen does not address severance, Guerrant cites it to support his

   underlying fairness argument. However, a joint trial is not unfair based on the facts of this

   case. In the light most favorable to the government, the government can provide evidence of

   Guerrant’s continued involvement with the Rollin’ 30s even after his incarceration. Two days

   after being incarcerated, Guerrant instructs A.P. to run the gang. Weeks before M.G.’s murder,

   A.P. says Guerrant will call him in order to provide further instruction and guidance for how

   to operate the Rollin’ 30s. The same gang members who were involved in N.L.’s murder were

   involved in M.G.’s murder. Following M.G.’s murder, Guerrant remained active in gang

   conduct by encouraging obstruction of justice, recruiting new gang members from prison, and

   condoning violence. Because Guerrant continued orchestrating gang conduct, all of the Rollin’

   30s’s reasonably foreseeable criminal activities are admissible as to Guerrant on the RICO

   conspiracy charge regardless of his personal involvement. M.G.’s murder directly relates to

   increasing Kasey’s standing in the gang and provided the gang with profits from M.G.’s stolen

   marijuana. Moreover, M.G.’s murder solidified the loyalty to the Rollin’ 30s between Mack,

   who murdered N.L. per Guerrant’s instruction, and Kasey.

          Guerrant emphasizes the lack of temporal proximity between Guerrant’s jail phone

   calls and M.G.’s murder. However, the phone calls support the allegation that Guerrant

   continued his involvement with the Rollin’ 30s and its operations both before and after M.G.’s

   murder. As such, it is not unfair to introduce evidence of gang activities undertaken under

   Guerrant’s gang leadership even if Guerrant was not personally involved in every act. As to

   Guerrant, M.G.’s murder is relevant to proving the RICO gang conspiracy, and its probative

   value is not substantially outweighed by unfair prejudice.


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             Similar to Najjar, Guerrant is making speculative assertions that a joint trial would be

   too prejudicial for proper limiting instructions to cure. But Guerrant’s vague assertions of jury

   confusion and prejudice are insufficient to meet the demanding standard set forth in Najjar.

   A joint trial does not amount to such a disparity in providing an adequate defense to warrant

   severance in this case. Here, each defendant is charged with acts in furtherance of a RICO

   conspiracy, and each is charged with involvement in at least one murder. Like Dinkins, it is

   immaterial that each defendant did not engage in every criminal act. Because the defendants

   are charged with participating in violent acts, including murder, as a part of this RICO

   conspiracy, a joint trial presents no prejudice to codefendants based on the facts of this case.

             In sum, Guerrant fails to show that “there is a serious risk that a joint trial would

   compromise [his] specific trial right[s] or prevent the jury from making a reliable judgment

   about guilt or innocence” as required under Najjar. Moreover, Guerrant does not present

   evidence to support why the drastic remedy of severance is necessitated here. Juries are

   presumed to follow their instructions, United States v. Chong Lam, 677 F.3d 190, 204 (4th

   Cir. 2012), and where there is insufficient evidence of a joint trial resulting in undue prejudice,

   limiting instructions are the appropriate remedy, see Dinkins, 691 F.3d at 368; Najjar, 300 F.3d

   at 475.

                                                          VI.

             Guerrant fails to show a particularized harm that will result from a joint trial. As leader

   of the Rollin’ 30s, the introduction of the gang’s violent activities does not present undue

   prejudice to Guerrant. Accordingly, evidence of M.G.’s murder as to Guerrant is admissible,

   and the motion to sever is DENIED.

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         An appropriate order will be entered.

                                                      Entered:    May 24, 2021
                                                                            Michael F. Urbanski
                                                                            Chief U.S. District Judge
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                                                      Chief United States District Judge




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